Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 1 of 9




                    EXHIBIT 4
                 Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 2 of 9
                                                                                                             E-FILED IN OFFICE - KMG
                                                                                                             CLERK OF STATE COURT
                                                                                                         GWINNETT COUNTY, GEORGIA
                                                                                                                   23-C-03597-S4
                               IN THE STATE COURT OF GWINNETT COUNTY                                          5/25/2023 3:08 PM
                                                                                                            TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
ELISA RODRIQUEZ
                                                                                                         23-C-03597-S4

                                                                                   CIVIL ACTION
                                                                                   NUMBER:

                                     PLAINTIFF


                      VS.
SIKA CORPORATION,
GREENWICH INSURANCE COMPANY,


and MICHAEL STEVEN REEVES,

                                 DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:

  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
             Parker M. Green, Esq.
             Morgan & Morgan Atlanta, PLLC
             178 S. Main Street, Unit 300
             Alpharetta, GA 30009
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.


This                        day of      __                                    20      .

             25th day of May, 2023                                          Tiana P. Garner

                                                                          •Richard T. Alexander, Jr.,
                                                                          Clerk of State Court




                                                                                          Deputy Clerk


INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.


SC-1 Rev. 2011
                 Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 3 of 9
                                                                                                             E-FILED IN OFFICE - KMG
                                                                                                             CLERK OF STATE COURT
                                                                                                        GWINNETT COUNTY, GEORGIA
                                                                                                                  23-C-03597-S4
                               IN THE STATE COURT OF GWINNETT COUNTY                                          5/25/2023 3:08 PM
                                                                                                            TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
ELISA RODRIGUEZ
                                                                                                        23-C-03597-S4
                                                                                    CIVIL ACTION
                                                                                    NUMBER:

                                     PLAINTIFF


                      VS.
SIKA CORPORATION,
GREENWICH INSURANCE COMPANY,


and MICHAEL STEVEN REEVES,

                                     DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:               MICHAEL STEVEN REEVES
  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
             Parker M. Green, Esq.
             Morgan & Morgan Atlanta, PLLC
             178 S. Main Street, Unit 300
             Alpharetta, GA 30009
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.


This                        day of                                        ,     20     .
                                                                              Tiana P. Garner
            25th day of May, 2023
                                                                        —Richard T. Alexandei, J17,
                                                                         Clerk of State Court




                                                                           By.
                                                                                        Deputy Clerk


INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.


SC-1 Rev. 2011
                 Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 4 of 9
                                                                                                               E-FILED IN OFFICE - KMG
                                                                                                               CLERK OF STATE COURT
                                                                                                           GWINNETT COUNTY, GEORGIA
                                                                                                                    23-C-03597-S4
                               IN THE STATE COURT OF GWINNETT COUNTY                                            5/25/2023 3:08 PM
                                                                                                              TIANA P. GARNER, CLERK

                                                 STATE OF GEORGIA
ELISA RODRIQUEZ

                                                                                                           23-C-03597-S4
                                                                                      CIVIL ACTION
                                                                                      NUMBER:

                                     PLAINTIFF


                      VS.
SIKA CORPORATION,
GREENWICH INSURANCE COMPANY,


and MICHAEL STEVEN REEVES,

                                 DEFENDANT



                                                        SUMMONS

TO THE ABOVE NAMED DEFENDANT:               GREENWICH INSURANCE COMPANY
  You arc hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiffs attorney, whose name
and address is:
             Parker M. Green, Esq.
             Morgan & Morgan Atlanta, PLLC
             178 S. Main Street, Unit 300
             Alpharetta, GA 30009
an answer to the complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default will be taken against you for the relief demanded in the complaint.


This       ___              day of                                               20     .
           25th day of May,                                                  Tiana P. Garner

                                                                           1UVUUJU 1. /VIVAMuuv* >    •>
                                                                           Clerk of State Court ,




                                                                           By.
                                                                                            Deputy Clerk


INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.


SC-1 Rev. 2011
                                                                                           E-FILED IN
                                                                                           E-FILED     OFFICE - JM
                                                                                                    IN OFFICE-JM
        Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 5 of 9                   CLERK OF
                                                                                         CLERK OF STATE COURT
                                                                                                  STATE COURT
                                                                                    GWINNETT COUNTY,
                                                                                    GWINNETT         GEORGIA
                                                                                             COUNTY, GEORGIA
                                                                                              23-C-03597-S4
                                                                                             23-C-03597-S4
                                                                                                    2:52 PM
                                                                                          8/23/2023 2:52
                                                                                          8/23/2023      PM
                                                                                        TIANA P.
                                                                                        TIANA P. GARNER, CLERK
                                                                                                 GARNER, CLERK

                   IN THE
                   IN THE STATE COURT OF
                          STATE COURT OF GWINNETT COUNTY
                                         GWINNETT COUNTY
                              STATE OF
                              STATE    GEORGIA
                                    OF GEORGIA

      RODRIGUEZ,
ELISA RODRIQUEZ,
ELISA

                  Plaintiffs,
                  Plaintiffs,

VS.
vs.

SIKA CORPORATION,
SIKA CORPORATION, GREENWICH
                  GREENWICH
INSURANCE COMPANY,
INSURANCE COMPANY, and
                    and MICHAEL
                        MICHAEL
STEVEN REEVES,
STEVEN REEVES,                                               CIVIL ACTION
                                                             CIVIL  ACTION FILE
                                                                             FILE
                                                             NO.: 23-C-03597-S4
                                                             NO.:  23 -C-03597-S4
                  Defendants.
                  Defendants.




             AFFIDAVIT OF
             AFFIDAVIT OF COMPLIANCE
                          COMPLIANCE FOR
                                     FOR SERVICE
                                         SERVICE OF
                                                 OF PROCESS
                                                    PROCESS

STATE OF
STATE OF GEORGIA
         GEORGIA
COUNTY OF
COUNTY OF FULTON
          FULTON

       PERSONALLY APPEARED
       PERSONALLY APPEARED BEFORE
                           BEFORE ME,
                                  ME, the
                                      the undersigned officer duly
                                          undersigned officer duly authorized
                                                                   authorized to
                                                                              to

administer oaths,
administer oaths, PARKER
                  PARKER M. GREEN, who,
                         M. GREEN, who, after
                                        after being
                                              being duly sworn, on
                                                    duly sworn,    oath deposes
                                                                on oath deposes and says:
                                                                                and says:

                                               1.
                                               1.

       II am
          am over the age
             over the     of majority,
                      age of majority, and
                                       and II am an attorney
                                              am an          duly licensed
                                                    attorney duly          to practice
                                                                  licensed to practice law
                                                                                       law in
                                                                                           in the
                                                                                              the

State
State of Georgia and
      of Georgia     an active
                 and an active member
                               member in good standing
                                      in good standing with the State
                                                       with the State Bar
                                                                      Bar of Georgia.
                                                                          of Georgia.

                                               2.
                                               2.

       II am the attorney
          am the attorney who
                          who represents
                              represents the
                                         the Plaintiffs
                                             Plaintiffs in the above-captioned
                                                        in the above-captioned action
                                                                               action against
                                                                                      against

Defendants
Defendants Sika
           Sika Corporation,
                Corporation, Greenwich Insurance Company
                             Greenwich Insurance Company and
                                                         and Michael
                                                             Michael Steven
                                                                     Steven Reeves.
                                                                            Reeves.

                                               3.
                                               3.

       II do
          do hereby
             hereby certify
                    certify that
                            that in
                                 in accordance
                                    accordance with
                                               with 0.C.G.A.
                                                    O.C.G.A. §§ 40-12-2,
                                                                40-12-2, 1I have
                                                                            have forwarded
                                                                                 fowarded by
                                                                                           by

Federal
Federal Express
        Express Overnight,
                Overnight, signature
                           signature requested,
                                     requested, the
                                                the Summons,
                                                    Summons, Complaint,
                                                             Complaint, Request
                                                                        Request for
                                                                                for
         Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 6 of 9



Admissions and
Admissions and Interrogatories and Request
               Interrogatories and         for Production
                                   Request for            of Documents
                                               Production of Documents of
                                                                       of the
                                                                          the above
                                                                              above case to
                                                                                    case to

Defendant Michael
Defendant Michael Steven
                  Steven Reeves
                         Reeves at
                                at the
                                   the last
                                       last known address: 1372
                                            known address: 1372 Pine
                                                                Pine Bluff
                                                                     Bluff Road,
                                                                           Road, Perry,
                                                                                 Perry, Taylor
                                                                                        Taylor

County, Florida
County,         32348-8590.
        Florida 32348-8590.

                                                 3.
                                                 3.

       II further
          further certify
                  certify that    shall file
                          that II shall file with
                                             with the
                                                  the appropriate
                                                      appropriate Court,
                                                                  Court, appended
                                                                         appended to
                                                                                  to the
                                                                                     the documents
                                                                                         documents

regarding this
regarding this case: (1) any
               case: (1)     return receipt
                         any return receipt received
                                            received as evidence of
                                                     as evidence of service
                                                                    service upon said Defendant
                                                                            upon said Defendant by
                                                                                                by

the Plaintiff,
the Plaintiff, and (2) this
               and (2) this Affidavit
                            Affidavit of Compliance,
                                      of Compliance.



       FURTHER AFFIANT
       FURTHER         SAITH NOT.
               AFFIANT SAITH NOT.

       This 23rd
       This      day of
            23rd day of August
                        August,, 2023
                                 2023..




                                              PARKER
                                              PARKER M.      GREEN, ESQ.
                                                         M. GREEN,     ESQ.
                                              Georgia Bar
                                              Georgia  Bar No.
                                                           No. 130593
                                                                130593
                                              Attorney for Plaintiff
                                              Attorneyfor  Plaintiff


Sworn to and
Sworn to     subscribed before
         and subscribed before me
                               me_)                                totem%
                                                                 0 14 BR44/*
this
this Ca Cj     day of /‘        0072023

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                                                                                                                         E-FILED IN OFFICE - JM
      Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 7 of 9 CLERK OF STATE COURT
                                                                                                                  GWINNETT COUNTY, GEORGIA
                                                                                                                           23-C-03597-S4
                                                                                                                      8/29/2023 12:10 PM
                                                                                                                      TIANA P. GARNER, CLERK



                                               AFFIDAVIT OF SERVICE
State of Georgia                                              County of Gwinnett                                  State Court

Case Number: 23-C-03597-S4
Plaintiff: ELISA RODRIQUEZ
vs.
Defendants: SIKA CORPORATION, GREENWICH INSURANCE
COMPANY, and MICHAEL STEVEN REEVES

For:
Parker Green
Green Law, LLC
178 S. Main Street
Unit 300
Alpharetta, GA 30009
Received by Absolute Legal Services to be served on Greenwich Insurance Company Registered Agent:
Linda Banks c/o CT Corporation System, 289 S Culver St, Lawrenceville, GA 30046

I, Christopher Todd Horton, being duly sworn, depose and say that on the 24th day of August, 2023 at 1:27
pm, I:

served Greenwich Insurance Company Registered Agent: Linda Banks c/o CT Corporation System
by delivering a true copy of the SUMMONS TO SIKA CORPORATION; SUMMONS TO MICHAEL
STEVEN REEVES; SUMMONS TO GREENWICH INSURANCE COMPANY; COMPLAINT;
PLAINTIFF’S 1ST INTERROGATORIES AND REQUEST FOR PRODUCTION OF DOCUMENTS TO
DEFENDANTS; PLAINTIFF’S FIRST REQUESTS FOR ADMISSIONS TO DEFENDANT SIKA
CORPORATION & GREENWICH INSURANCE COMPANY; PLAINTIFF’S FIRST REQUESTS FOR
ADMISSIONSTO DEFENDANT MICHAEL STEVEN REEVES with the date and hour of service endorsed
thereon by me, to: Linda Banks c/o CT Corporation, title: Process Specialist, a person authorized to
accept process for the Company, Greenwich Insurance Company Registered Agent: Linda Banks c/o
CT Corporation System, at the address of: 289 South Culver Street, Lawrenceville, GA 30056.

Description of Person Served: Age: 73, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 140, Hair:
Grey, Glasses: Y
I certify that I am a citizen of the United States over'                                                              ityled
case.




                                                                              Absolute Legal Services
                                                                              930 New Hope Road
                                                                              Suite 11-110
                                                                              Lawrenceville, GA 30045
                                                                              (770) 736-8106

                                                                              Our Job Serial Number: RBC-2023001921
                                                                              Ref: RODRIGUEZ
                        I     GEORGIA                 I   I

                         \    5-18-2027           •       =
                        1 *                   t           *




                               Copyright © 1992-2023 DreamBuilt Software, Inc. - Process Server's Toolbox V8.2k
                                                                                                                                  E-FILED IN OFFICE - JM
       Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 8 of 9 CLERK OF STATE COURT
                                                                                                                            GWINNETT COUNTY, GEORGIA
                                                                                                                                     23-C-03597-S4
                                                                                                                                8/29/2023 12:10 PM
                                                                                                                               TIANA P. GARNER, CLERK



                                                 AFFIDAVIT OF SERVICE
State of Georgia                                          County of Gwinnett                                                State Court

Case Number: 23-C-03597-S4
Plaintiff: ELISA RODRIQUEZ
vs.
Defendants: SIKA CORPORATION, GREENWICH INSURANCE
COMPANY, and MICHAEL STEVEN REEVES

For:
Parker Green
Green Law, LLC
178 S. Main Street
Unit 300
Alpharetta, GA 30009
Received by Absolute Legal Services to be served on Sika Corporation Registered Agent: Corporation
Service Company, 2 Sun Court, Suite #400, Peachtree Corners, GA 30092.

I, Christopher Todd Horton, being duly sworn, depose and say that on the 24th day of August, 2023 at
12:47 pm, I:

served Sika Corporation Registered Agent: Corporation Service Company by delivering a true copy
of the SUMMONS TO SIKA CORPORATION; SUMMONS TO MICHAEL STEVEN REEVES; SUMMONS
TO GREENWICH INSURANCE COMPANY; COMPLAINT; PLAINTIFF’S 1ST INTERROGATORIES
AND REQUEST FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS; PLAINTIFF’S FIRST
REQUESTS FOR ADMISSIONS TO DEFENDANT SIKA CORPORATION & GREENWICH INSURANCE
COMPANY; PLAINTIFF’S FIRST REQUESTS FOR ADMISSIONSTO DEFENDANT MICHAEL STEVEN
REEVES with the date and hour of service endorsed thereon by me, to: Alisha Smith Registered Agent
Corporation Service Company, title: CSC Coordinator, a person authorized to accept process for the
Company, Sika Corporation Registered Agent: Corporation Service Company, at the address of: 2
Sun Court, Suite 400, Peachtree Corners, GA 30092.

Description of Person Served: Age: 42, Sex: F, Race/Skin Color: Black, Height: 5'8", Weight: 150, Hair:
Black, Glasses: N
I certify that I am a citizen of the United States over the age of 18 and have no interest in the
case.


                                                                                                                    orton
                                                          ay of                      cess Server ID No. CPS243

                                                   ntification.                 Absolute Legal Services
                                                                                930 New Hope Road
                                                                                Suite 11-110
NOTA                                .........                                   Lawrenceville, GA 30045
                                                                                (770) 736-8106

                                                                                Our Job Serial Number: RBC-2023001920
                            •   expires          \      \                       Ref: RODRIQUEZ
                        ;       GEORGIA            ;     |
                        \       5-18-2027         Z      s




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                                                                                                                             E-FILED IN OFFICE - JM
                  Case 1:23-cv-04345-LMM Document 1-3 Filed 09/25/23 Page 9 of 9                                           CLERK OF STATE COURT
                                                                                                                       GWINNETT COUNTY, GEORGIA
                                                                                                                                 23-C-03597-S4
                                                                                                                             9/5/2023 11:38 AM
                                                                                                                           TIANA P. GARNER, CLERK

                         IN THE STATE COURT OF GWINNETT COUNTY, STATE OF GEORGIA

Elisa Rodriguez                                                  Case No.:                   23-C-03597-S4

                                          Plaintiff/Petitioner
vs.
Michael Steven Reeves; et al.                                    AFFIDAVIT OF SERVICE OF
                                     Defendant/Respondent        Summons; Complaint; Plaintiff's First Request for
                                                                 Admissions; Plaintiffs First Interrogatories; Plaintiff's
                                                                 First Request for Production of Documents; Affidavit of
                                                                 Compliance for SOP


Received by Jeremy Stinson, on the 31st day of August, 2023 at 11:31 AM to be served upon Michael Steven Reeves
at 1372 Pine Bluff Road, Perry, Taylor County, FL 32348
On the 1st day of September, 2023 at 11:05 AM, I, Jeremy Stinson, SERVED Michael Steven Reeves at 1372 Pine
Bluff Road, Perry, Taylor County, FL 32348 in the manner indicated below:

INDIVIDUAL SERVICE, by personally delivering 1 copy(ies) of the above-listed documents to Michael Steven Reeves.


THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
I delivered the documents to Michael Steven Reeves with identity confirmed by subject stating their name. The
individual accepted service with direct delivery. The individual appeared to be a gray-haired white male contact
55-65 years of age, 5’10"-6'0" tall and weighing 200-240 lbs.

Service Fee Total. $140.00

Per 28 U.S.C.      746, I declare under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct.



 NAME:                                                      2010-019
     ^//deremy Sti^on                                       Server ID #                                      Date

 Notary Public: Subscribed aHd sworn before me on this           day of                                         in the year of 20^S>
 Personally known to me         or         identified by the following document:


                                                                       - ---------------------------
                                                                       I                   SAMANTHA NICOLE            /
                                                                       ,                Notary Public - State of-iofe
      ary Public (Legal Signature)                                                          Commission 4 HH 35:50S     .
                                                                       1                My Comm. Expires Jar 29. K i
                                                                       i           Bonded through National Notary As: ‘




                                                                                                                                Page 1 of 1

            REF   REF-13568800 (Elisa Rodriguez)                                                                   Tracking #: 0113423237
